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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------------x
                                                                   :
 FIR TREE CAPITAL OPPORTUNITY MASTER                               :
 FUND, L.P., FIR TREE REF III MASTER FUND, :                           Civil Action No.
 LLC, FIR TREE VALUE MASTER FUND, L.P.,                            :
 BSOF MASTER FUND L.P. and BSOF                                    :
 PARALLEL MASTER FUND L.P.,                                        :   PLAINTIFFS’ RULE 7.1
                                                                   :   STATEMENT
                            Plaintiffs,                            :
                                                                   :
                               v.                                  :
                                                                   :
 AMERICAN REALTY CAPITAL PROPERTIES,                               :
 INC. n/k/a VEREIT, INC. NICHOLAS S.                               :
 SCHORSCH, DAVID S. KAY, BRIAN S. BLOCK, :
 and LISA P. MCALISTER,                                            :
                                                                   :
                            Defendant.
------------------------------------------------------------------x

         Pursuant to Rule 7.1(a) of the Federal Rules of Civil Procedure, the undersigned counsel

for Plaintiffs Fir Tree Capital Opportunity Master Fund, L.P., Fir Tree REF III Master Fund,

LLC, Fir Tree Value Master Fund, L.P., BSOF Master Fund L.P. and BSOF Parallel Master

Fund L.P. (collectively, “Plaintiffs”) hereby certifies as follows.

         Fir Tree Capital Opportunity Master Fund, L.P. has no parent corporations, and no

publicly held corporation owns 10% or more of Fir Tree Capital Opportunity Master Fund,

L.P.’s stock.

         Fir Tree REF III Master Fund, LLC has no parent corporations, and no publicly held

corporation owns 10% or more of Fir Tree REF III Master Fund, LLC’s stock.

         Fir Tree Value Master Fund, L.P. has no parent corporations, and no publicly held

corporation owns 10% or more of Fir Tree Value Master Fund, L.P.’s stock.
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       BSOF Master Fund L.P. has no parent corporations, and no publicly held corporation

owns 10% or more of BSOF Master Fund L.P’s stock.

       BSOF Parallel Master Fund L.P. has no parent corporations, and no publicly held

corporation owns 10% or more of BSOF Parallel Master Fund L.P.’s stock.


Dated: June 30, 2017
       New York, New York

                                            LOWENSTEIN SANDLER LLP



                                          By:_/s/ Lawrence M. Rolnick__________
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